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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

IRON WORKERS MID-SOUTH PENSION
FUND, Derivatively On Behalf Of U.S.
BANCORP,                                            Court File No.: 13-00289 (JRT/JJG)

              Plaintiff,

vs.

RICHARD K. DAVIS, ANDREW
CECERE, PATRICK T. STOKES, O’DELL
M. OWENS, JERRY W. LEVIN,
VICTORIA BUYNISKI GLUCKMAN,                          DEFENDANTS’ MOTION TO
DAVID B. O’MALEY, ARTHUR D.                          DISMISS PLAINTIFF’S
COLLINS, JR., JOEL W. JOHNSON,                       DERIVATIVE COMPLAINT
CRAIG D. SCHNUCK, OLIVIA F.
KIRTLEY, DOUGLAS M. BAKER, JR., Y.
MARC BELTON, and RICHARD D.
REITEN,

              Defendants,

-and-

U.S. BANCORP, a Delaware corporation,

              Nominal Defendant.




TO:     Plaintiff Iron Workers Mid-South Pension Fund, and its attorneys, Amanda R.
        Cefalu, Anderson, Helgen, Davis & Nissen, PA, 150 South Fifth Street, Suite
        3100, Minneapolis, MN 55402; Brian J. Robbins, Craig W. Smith, Julia M.
        Williams, and Gina Stassi, Robbins Arroyo LLP, 600 B Street, Suite 1900, San
        Diego, CA 92101; Maria Cangemi and Christina Carroll, Robein, Urann, Spencer,
        Picard & Cangemi APLC, 2540 Severn Avenue, Suite 400, Metairie, LA 70002;
        and Paul T. Warner, The Warner Law Firm, 11123 McCracken Lane, Suite A,
        Cypress, TX 77429.
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      Pursuant to Federal Rules of Civil Procedure 12 and 23.1, Defendants Richard K.

Davis, Andrew Cecere, Patrick T. Stokes, O’Dell M. Owens, Jerry W. Levin, Victoria

Buyniski Gluckman, David B. O’Maley, Arthur D. Collins, Jr., Joel W. Johnson, Craig

D. Schnuck, Olivia F. Kirtley, Douglas M. Baker, Jr., Y. Marc Belton, and Richard D.

Reiten hereby move the Court to dismiss Plaintiff’s Derivative Complaint. The bases for

Defendants’ Motion to Dismiss Plaintiff’s Derivative Complaint will be set forth more

fully in Defendants’ memorandum of law in support of this motion and accompanying

papers.




Dated: April 15, 2013                        DORSEY & WHITNEY LLP


                                             By /s/ Peter W. Carter ________________
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                                             Andrew Cecere, Patrick T. Stokes, O’Dell
                                             M. Owens, Jerry W. Levin, Victoria Buyniski
                                             Gluckman, David B. O’Maley, Arthur D.
                                             Collins, Jr., Joel W. Johnson, Craig D.
                                             Schnuck, Olivia F. Kirtley, Douglas M.
                                             Baker, Jr., Y. Marc Belton, and Richard D.
                                             Reiten




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